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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Robert Santana
                               Plaintiff,
v.                                                   Case No.: 1:22−cv−00237
                                                     Honorable Jorge L. Alonso
James Hoffa, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 16, 2022:


        MINUTE entry before the Honorable Jorge L. Alonso: A stipulation to dismiss has
been filed. This case is dismissed with prejudice. Defendants' Motion to dismiss [25] is
denied as moot. Civil case terminated. Notice mailed by Judge's staff (lf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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